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 2   District of Arizona
 3
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 5   GREGORY A. BARTOLOMEI, #011803
     Asst. Federal Public Defender
 6   Attorney for Defendant
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 8                   IN THE UNITED STATES DISTRICT COURT
 9                               DISTRICT OF ARIZONA
10
     United States of America,                      No. CR-13-1607-PHX-SRB
11
                  Plaintiff,
12                                             DEFENDANT JEAN BAPTISTE
13
           vs.                                     KINGERY’S LEGAL
                                              MEMORANDUM IN SUPPORT OF
14   Jean Baptiste Kingery,                    HIS MOTION FOR PRETRIAL
                                                       RELEASE
15                Defendant.
16                                                  (Defendant is in Custody)
17
           Jean Baptiste Kingery, by and through undersigned counsel, respectfully
18
19   submits this legal memorandum in support of his motion for pretrial release.
20   Preliminary Comments:
21         As of the writing of this memorandum, we received the initial report from
22   Pretrial Services wherein they are recommending the Defendant for release after a
23
     home assessment has been conducted to implement a Location Monitoring
24
     Program. The Defendant would be residing at the home of his mother in Yuma,
25
26   Arizona, where there is a working land-line telephone for easy access to the
27   Defendant at any hour of the day or night. The Defendant is also amenable to
28   wearing an ankle monitoring device if Ordered to do so by this Court.
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 1         Mr. Kingery is charged by Indictment with Attempted Violation of the
 2   Arms Export Control Act (Count 1), Smuggling Goods From the United States
 3
     (Count 2), and False Statement (Count 3). The government alleges that this
 4
     Defendant attempted to export grenade shells, detonating fuse, and some
 5
 6   ammunition. He has entered a plea of not guilty to each and every count.
 7
 8   I.    The Applicable Law.
 9         The provisions of 18 U.S.C. §3142 governs the issue of pretrial release.
10
     Rule 46(a), Federal Rules of Criminal Procedure. The Bail Reform Act clearly
11
     states that nothing in this section shall be construed as modifying or limiting the
12
13   presumption of innocence. 18 USC §3142(j).
14
15   II.   This is Not a case involving a “rebuttable presumption”.
16         The issues before this Court related to whether Mr. Kingery should be
17
     released during the pendency of his case are straightforward and this case does
18
     not involve a rebuttable presumption. Just to get that out of the way, for a
19
20   rebuttable presumption to arise, the statutes require that the alleged offenses fall
21   under 18 U.S.C. §3142(f)(1)(A-E). If they did, then a rebuttable presumption
22   would arise “...that no condition or combination of conditions will reasonably
23   assure the safety of any other person and the community...” and the Court could
24
     Order that he be detained. 18 U.S.C. §3142(e)(1-3).
25
     ///
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27   ///
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 1          It is respectfully urged that none of the crimes alleged in the Indictment in
 2   our case:
 3
                  (a) constitutes a crime of violence nor are they listed as an offense in
 4
     18 U.S.C. §2332b(g)(5)(B) [which are crimes alleging terrorism];
 5
 6                (b) qualify as crimes subject to a maximum sentence is life
 7   imprisonment of death;
 8                (c) constitute offenses involving the Controlled Substances Act;
 9                (d) relates to a defendant who has 2 or more prior convictions
10
     related to (a) through (c) above (ie. violence, or crimes where there is a maximum
11
     sentence of life or death, or crimes involving the Controlled Substances Act)
12
13   because Mr. Kingery has no prior convictions; and
14                (e) involve the use of a firearm or an explosive device.
15   See: 18 U.S.C. §3142(f)(1)(A-E).
16                In addition, Mr. Kingery does not come before this Court as a person
17
     accused of crimes committed “...while the person was on release pending trial for
18
     a Federal, State, or local offense...”. See: 18 U.S.C. §3142(e)(2)(B). He has no
19
20   other pending charges and is not out on bond in any other matter.
21          Thus, there is no rebuttable presumption in this case.
22
23   III.   Does this change because there are allegations of grenade shells and fuses
24
            and do they constitute crimes of violence?
25
            The allegations change nothing. It is respectfully urged that allegations of
26
27   attempted illegal exporting of grenade shells and detonating fuses are not equal to
28   nor do they constitute crimes of violence under either the categorical or modified




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 1   categorical analysis. Thus, again, they do not establish a rebuttable presumption.
 2   See: 18 U.S.C. §3142(f)(1)(A).
 3
             It is further urged that whether or not the particular grenade shells alleged
 4
     in this Indictment even qualify as being subject to the restrictions of the Armed
 5
 6   Export Treaty Act and whether they qualify as the kinds of materials covered in
 7   the Munitions List is a factual matter to be developed as the case proceeds and
 8   likely to be resolved by a jury at trial. It is not a matter that needs to be resolved
 9   at a detention hearing.
10
11
     IV.     What about allegations regarding ammunition?
12
13           As for the allegations that the Defendant’s conduct also included an
14   attempt to export ammunition, that also fails to satisfy the requirements of 18
15   U.S.C. §3142(f)(1)(A-E) because by itself, “ammunition” does not fall under the
16   definition of either a firearm nor a destructive device “...as those terms are
17
     defined in section 921...”. See: 18 U.S.C. §3142(f)(1)(E).
18
             Section 921 states as follows:
19
20           (3) The term “firearm” means (A) any weapon (including a starter gun)
           which will or is designed to or may readily be converted to expel a
21
           projectile by the action of an explosive; (B) the frame or receiver of any
22         such weapon; (C) any firearm muffler or firearm silencer; or (D) any
23         destructive device. Such term does not include an antique firearm.
24           (4) The term “destructive device” means—
25
                   (A) any explosive, incendiary, or poison gas--
26                       (i) bomb,
                         (ii) grenade,
27                       (iii) rocket having a propellant charge of more than four
28                             ounces,
                         (iv) missile having an explosive or incendiary charge of
                               more than one-quarter ounce,
                         (v) mine, or
                         (vi) device similar to any of the devices described in the
                               preceding clauses;
                                                4
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 1               (B) any type of weapon (other than a shotgun or a shotgun shell
 2      which the Attorney General finds is generally recognized as particularly
        suitable for sporting purposes) by whatever name known which will, or
 3
        which may be readily converted to, expel a projectile by the action of an
 4      explosive or other propellant, and which has any barrel with a bore of
 5      more than one-half inch in diameter; and
 6
                 (C) any combination of parts either designed or intended for use
 7
        in converting any device into any destructive device described in
 8      subparagraph (A) or (B) and from which a destructive device may be
 9      readily assembled.
10
        The term “destructive device” shall not include any device which is
11      neither designed nor redesigned for use as a weapon; any device, although
12      originally designed for use as a weapon, which is redesigned for use as a
13      signaling, pyrotechnic, line throwing, safety, or similar device; surplus
        ordnance sold, loaned, or given by the Secretary of the Army pursuant to
14
        the provisions of section 4684(2), 4685, or 4686 of title 10; or any other
15      device which the Attorney General finds is not likely to be used as a
16      weapon, is an antique, or is a rifle which the owner intends to use solely
        for sporting, recreational or cultural purposes.
17
        (See: 18 U.S.C. §921)
18
19
           Accordingly, it is respectfully urged that none of the items listed and
20
     alleged in the Indictment meet these definitions and the Defendant should not be
21
22
     burdened with having to overcoming a rebuttable presumption in this case.
23         However, if the Court nevertheless determines that there is a rebuttable
24   presumption which the Defendant must overcome, that does not mean that he is
25   required to show that he is not guilty of the offense(s) charged. All that Mr.
26
     Kingery is required to do is “…produce some credible evidence forming a basis
27
28




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 1   for his contention that he will appear and will not pose a threat to the
 2   community.” United States v. Carbone, 793 F2d 559, at 560 (3rd Cir. 1986);
 3
     United States v. Cantu-Lopez, 2012 WL 4458142, at 1 (D. Ariz. 2012). Mr.
 4
     Kingery’s circumstances conclusively meets this requirement.
 5
 6
 7   V.    Factors to be considered by the Court:
 8         As a practical matter, case law has long held that the bail statute neither
 9   requires nor permits a pretrial determination that the person is guilty. In addition,
10
     doubts regarding the propriety of pretrial release should be resolved in favor of
11
     the defendant. “Only in rare circumstances should release be denied.” US v.
12
13   Motamedi, 767 F2d 1403, at 1405 (9th Cir. 1985).
14         That said, Mr. Kingery reasonably anticipates that the government will
15   focus upon the purported strength of their case and the Court is not precluded
16   from considering the weight of the evidence.          However, case law has also
17
     consistently held that the weight of the evidence is the least important of all of the
18
     factors bearing on the issue of release. United States v. Motamedi, 767 F2d at
19
20   1408 (9th Cir. 1985); United States v. Cantu-Lopez, supra at 1 (D. Ariz. 2012);
21   United States v. Winsor, 785 F2d 755, at 757 (9th Cir. 1986).
22         Congress has mandated that other specific factors must be considered by a
23   Court when determining “…whether there are conditions of release that will
24
     reasonably assure the appearance of the person as required AND the safety of any
25
     other person and the community…”. See: 18 U.S.C. §3142(g) (Emphasis added).
26
27   ///
28




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 1   These specific factors include the following:
 2         a) The defendant’s character.
 3
 4         Mr. Kingery is a 44 year old male who is married (second time) and has a
 5   total of 6 children ranging in ages from 4 to 18 years old. He appears before this
 6   Court without any prior convictions of any kind.           Although he has been
 7
     unemployed for the past 4 years, that is solely because he has been in a Mexican
 8
     prison throughout that entire time because of allegations related to this case.
 9
10         Mr. Kingery is a family man and during this long period of detention, “...he
11   maintained contact with his mother and sister through letters.” See: PTSI Report,
12   page 1. His mother has confirmed this to Pre-trial Services, including the fact that
13   if he is released by this Court, Mr. Kingery will be residing with her at her home
14
     in Yuma, Arizona.
15
16         b) The Defendant’s physical and mental condition.
17
18
           Mr. Kingery has no history of illicit drug use or alcohol dependency which
19   would raise a concern as to his reliability and ability to comply with any release
20   conditions imposed by this Court. While Mr. Kingery does have some physical
21   ailments, he is otherwise in good physical health and is not receiving any kind of
22
     counseling. In addition, he completed high school and attended some college
23
     before deciding to open an antique store to sell Native American art.
24
25         c) Mr. Kingery’s Financial Resources.
26
27         As previously stated, Mr. Kingery has been unemployed for the past 4
28   years solely because of his incarceration in Mexico related to allegations tied to
     this case. He presently has no independent financial resources but PTSI has


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 1   confirmed that he will have support from his mother and his immediate family.
 2           In addition, Mr. Kingery is employable and as indicated in the PTSI
 3
     Report, he worked at the Barona Casino in San Diego for several years. It should
 4
     be noted that during his time at that Casino, he worked specifically in the
 5
 6   “counting room” where he counted money throughout his shift each day of his
 7   employment. This is known to be a position requiring a lot of trust in those
 8   employees because the counting room is the lifeline of every casino. Thus, he has
 9   established through his work history that he is a reliable and trustworthy
10
     employee and given that he is an educated man and a former businessman, he is
11
     certainly capable of finding employment if allowed to do so by this Court pending
12
13   the resolution of his case.
14
15   Conclusion:
16           If released, Mr. Kingery will be totally dependent upon his mother and
17
     immediate family for his daily support and maintenance. They welcome that
18
     obligation. Mr. Kingery is also amenable to wearing a monitoring device.
19
20   Between wearing an ankle bracelet and the additional daily supervision of his
21   mother, we believe there are sufficient assurances to satisfy this Court that Mr.
22   Kingery will not flee and that he should be released pending the resolution of his
23   case.
24
             As for the issue of safety to the community, the absence of any criminal
25
     record speaks for itself. A clean criminal history should provide this Court with a
26
27   sufficient measure of assurance that he is capable of continuing to be a law-
28   abiding citizen. The allegations are not enough to override his 44 years without




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 1   a criminal conviction and there is simply no reasonable or reliable basis upon
 2   which to urge that Mr. Kingery poses a threat to any specific person or to the
 3
     community at large.
 4
           For all of these reasons, it is respectfully urged that the facts convincingly
 5
 6   establish that Mr. Kingery should be released with ankle monitoring and to the
 7   care and custody of Arlene Frances for the remainder of this legal process.
 8         Excludable delay under 18 U.S.C. § 3161(h)(D) may result from this
 9   motion or from an order based thereon.
10
                 Respectfully submitted: October 2, 2015.
11
12                                   JON M. SANDS
13                                   Federal Public Defender
14
                                     s/Gregory A. Bartolomei
15                                   GREGORY A. BARTOLOMEI
16                                   Asst. Federal Public Defender
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 1   Copy of the foregoing transmitted
     by ECF for filing October 2, 2015, to:
 2
     CLERK’S OFFICE
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